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 1   L. BRUCE LOCKE (#177787)
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 4   Attorneys for
     AARON RUNNER
 5
 6                           IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                No. CR. S-08-186 MCE
                                         )
 9                     Plaintiff,        )
                                         )                STIPULATION TO ADVANCE THE
10                                       )                SCHEDULE FOR SENTENCING
           v.                            )
11                                       )
     AARON RUNNER, et al.,               )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendant, Aaron Runner, by
15   and through his defense counsel, Bruce Locke, and the United States of America by and through its
16   counsel, Assistant United States Attorney Lawrence Brown, that the date for judgement and
17   sentencing will be October 9, 2008 at 9:00 a.m. Mr. Runner does not have any objections to the Pre-
18   Sentence Report and he would like to advance his sentencing date. Any sentencing memoranda
19   should be filed by October 2, 2008.
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29                                                   1
             Case 2:08-cr-00186-MCE Document 41 Filed 10/02/08 Page 2 of 2


 1   DATED: September 26, 2008                    /S/ Bruce Locke
                                        BRUCE LOCKE
 2                                      Attorney for Aaron Runner
 3   DATED: September 26, 2008             /s/ Bruce Locke
                                        For LAWRENCE BROWN
 4                                      Assistant United States Attorney
 5
 6         IT IS SO ORDERED.
 7
 8    Dated: September 30, 2008
 9                                      ________________________________
10                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
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